                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:04cr250


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                         ORDER
                                         )
TRACY LYNN PETTY (5)                     )
________________________________________ )




        THIS MATTER is before the Court upon letter of the defendant, pro se, received on

January 25, 2007, requesting that the Court modify its sentence.

        This matter is pending on appeal. (Doc. No. 462: Notice of Appeal). The letter does not

seek correction of the judgment pursuant to Fed. R. Crim. P. 35(a). Accordingly, the Court does

not have jurisdiction to consider the defendant’s request for leniency. Fed. R. App. P. 4(b)(5).

Even if the Court had jurisdiction, having considered the defendant’s arguments and the entire

record in this case, it would not exercise its discretion to alter the sentence.

        IT IS, THEREFORE, ORDERED that the defendant’s request is DENIED.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.
                                                    Signed: February 16, 2007




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